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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    REINTEGRATIVE THERAPY                       )    Case No.: 3:21-cv-1297-BEN-BLM
      ASSOCIATION, INC., a California             )
12
      corporation; and DR. JOSEPH                 )    ORDER TO SHOW CAUSE AS TO
13    NICOLOSI JR., an individual,                )    WHY PLAINTIFFS FAILED TO
                         Plaintiffs,              )    COMPLY WITH COURT ORDER
14
                                                  )
      v.                                               [ECF Nos. 13, 19]
15                                                )
                                                  )
16    DAVID J. KINITZ, an individual; and
                                                  )
      TRAVIS SALWAY, an individual,
17                                                )
                         Defendants.              )
18
19   I.    INTRODUCTION
20         On October 8, 2021, Plaintiffs filed a Motion seeking to serve Defendant David J.
21   Kintiz (“Mr. Kinitz”) by e-mail. ECF No. 6. On November 4, 2021, the Court denied in
22   part this motion because Rule 4 of the Federal Rules of Civil Procedure and the Hague
23   Convention require plaintiffs to serve the relevant Central Authority before attempting
24   alternative means of service. ECF No. 13. Thus, the Court ordered Plaintiffs to first,
25   attempt to serve Mr. Kinitz by serving the Central Authority for Ontario, Canada. Id. at
26   16. Only if they received notice that Mr. Kinitz could not cannot be served through
27   service upon the Central Authority, were they to serve Mr. Kinitz at his publicly listed e-
28   mail address of david.kinitz@mail.utoronto.ca within ten (10) days of the Order, using

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 1   the “Return Receipt Requested” feature. Id. On November 12, 2021, Plaintiffs filed a
 2   Proof of E-mail Service, which attached the Court’s order and advised it was serving Mr.
 3   Kinitz by e-mail “pursuant to the Order.” ECF No. 19 at 3. However, this “Proof of
 4   Service” provided no information as to any failed attempts to serve the Central Authority.
 5   Id.
 6         Within seven (7) days of this order, Plaintiffs are ordered to either (1) provide the
 7   Court with proof that they unsuccessfully attempted service upon the Central Authority
 8   before attempting e-mail service or (2) show cause as to why they failed to comply with
 9   the Court’s order.
10         IT IS SO ORDERED.
11    DATED:      November 15, 2021
12                                                        HON. ROGER T. BENITEZ
                                                           United States District Judge
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